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8                             UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
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11   BEN PIAZZA; JOEL BINGER; KEVIN         CASE NO. 2:20-cv-02920 DSF(ASx)
     BELLOTTI; JIMMY VELARDE;
12   WAYNE GETCHELL; NANCY
     PERRY; EDWARD NELSON; RON              ORDER GRANTING JOINT
13   NUGENT; DAVE GOLBA;                    STIPULATION REGARDING
     PETER MALLARD; FREDERICK               RESPONSE TO FIRST AMENDED
14   SMITH; JULIAN SALAS; ROBERTO           COMPLAINT, MOTION TO
     BOSIO; RICHARD LABGOLD;                DISMISS, AND MOTION FOR
15   DENISE STONES; LESLIE NOURSE;          SANCTIONS
     LINDA RUSS; JERILYNNE
16   AKUTAGAWA; BARBRA CIMO;
     SHARON O’DANIEL; JODY
17   LAWRENCE-MILLER; VICKI                 Hon. Dale S. Fischer
     KAUFMAN; TRACY LAWRENCE;
18   KENNETH LATKA; and MARC
     BERUTI
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                Plaintiffs,
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          v.
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     CBS BROADCASTING, INC.;
22   TELEVISION CITY STUDIOS, LLC;
     TELEVISION CITY SERVICES, LLC;
23   TELEVISION CITY PRODUCTIONS,
     LLC; MICHAEL HACKMAN &
24   ASSOCIATIONS; HACKMAN
     CAPITAL PARTNERS LCC; and
25   DOES 1 through 10, inclusive,
26              Defendants.
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1          This matter is before the Court pursuant to the Joint Stipulation Regarding
2    Response to First Amended Complaint, Motion to Dismiss, and Motion for Sanctions
3    between Plaintiffs and Defendants Television City Studios, LLC; Television City
4    Services, LLC; Television City Productions, LLC; Michael Hackman & Associates;
5    and Hackman Capital Partners, LLC (“Hackman Defendants”). Based on the Joint
6    Stipulation and good cause appearing, the Court GRANTS the relief requested in the
7    Joint Stipulation and HEREBY ORDERS that:
8          1.    Hackman Defendants shall serve their Rule 11 Motion for Sanctions on
9    Plaintiffs on May 22, 2020.
10         2.    Hackman Defendants’ time to respond to the First Amended Complaint,
11   whether by Answer or a Motion to Dismiss is extended to June 5, 2020.
12         3.    Hackman Defendants’ Rule 11 Motion for Sanctions shall be filed on
13   June 5, 2020.
14         4.    Plaintiffs’ Opposition to Hackman Defendants’ Motion to Dismiss and
15   Motion for Sanctions shall be filed on July 2, 2020.
16         5.    Hackman Defendants’ Reply in Support of their Motion for Sanctions and
17   Motion to Dismiss shall be due on July 23, 2020.
18         6.    If Plaintiffs decide to file a Motion to Remand, the parties shall cooperate
19   and may revise this briefing schedule as appropriate and subject to the Court’s
20   approval.
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22         IT IS SO ORDERED.
23   DATED: April 6, 2020
24                                         Honorable Dale S. Fischer
                                           UNITED STATES DISTRICT JUDGE
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